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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


MAUREEN WARD,

             Plaintiff,                             CIVIL ACTION

vs.                                                 FILE NO.: ______________

HEALTHCARE SERVICES GROUP,                          JURY TRIAL DEMANDED
INC.

             Defendant.

                                  COMPLAINT

      Plaintiff Maureen Ward (hereinafter “Ms. Ward” or “Plaintiff”) files this

Complaint against the Defendant Healthcare Services Group, Inc. (hereinafter

“HSG” or “Defendant”) showing the Court that Defendant discriminated against her

in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.,

as amended by the Pregnancy Discrimination Act of 1978, 42 U.S.C. § 1981A

(“Title VII”):

                                INTRODUCTION

                                         1.

      Ms. Ward was hired by HSG as a housekeeper and assigned to work “full

time” at the Rockdale Healthcare Center on or about July 27, 2020. On August 1,


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2020, Ms. Ward notified her supervisor, Valencia Commodore, that she was

pregnant. After that time, Ms. Ward experienced a reduction in her hours (and

correspondingly, wages) which was inconsistent with the terms of her employment

offered to her upon hire. When Ms. Ward inquired as to why her hours were less

than what she had been promised, she was told repeatedly by her supervisor Ms.

Commodore that the reduction in hours was due to her pregnancy. Furthermore, in

October 2020, Ms. Commodore notified Ms. Ward that she had hired someone to

replace Ms. Ward permanently due to her pregnancy. Since Ms. Ward was in good

standing with Defendant and had always performed her work duties well, she

inquired as to why she was being replaced. Ms. Commodore in turn asked invasive

questions as to who would be taking care of Ms. Ward’s child after birth and told

Ms. Ward she did not believe Ms. Ward would return to work after giving birth.

                                    PARTIES

                                         2.

      At all times relevant to this action, Ms. Ward was a resident of the State of

Georgia.

                                         3.

      At all times relevant to this action, Defendant Healthcare Services Group, Inc.

was a Pennsylvania company subject to personal jurisdiction in Georgia, and was

Ms. Ward’s employer within the meaning of Title VII. Defendant may be served via


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its registered agent, Corporation Service Company, 40 Technology Parkway South,

Suite 300, Norcross, GA 30092.

    JURISDICTION, VENUE, AND ADMINISTRATIVE EXHAUSTION

                                        4.

      This Court’s jurisdiction is proper pursuant to 28 U.S.C. § 1331 as the claims

herein present a federal question.

                                        5.

      Venue is proper in this district and division under 28 U.S.C. § 1391 because

Defendant resides in and conducts business in this district and division, and the

unlawful actions and practices alleged herein were committed within the Northern

District of Georgia.

                                        6.

      Defendant Healthcare Services Group, Inc. may be served with a summons

and copy of the Complaint by delivering it to its registered agent, Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, GA 30092.

                                        7.

      Ms. Ward has complied with all conditions precedent to the filing of this

action, including filing timely a Charge of Discrimination with the Equal

Employment Opportunity Commission (Charge No. 410-2021-00847), and received




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a Notice of Right to Sue, and this action has been filed within ninety (90) days of

receipt of said Notice.

                                     FACTS

                                        8.

      Ms. Ward was hired by Defendant as a housekeeper in July 2020. As part of

her hire, and as a condition thereof, Ms. Ward took the job because she wastold by

her supervisor, Valencia Commodore, an employee of Defendant, that she would be

a full-time employee (40 hours per week). Ms. Ward is a female.

                                       9.

      On August 1, 2020, Ms. Ward informed Ms. Commodore that she was

pregnant.

                                       10.

      After Ms. Ward told Ms. Commodore of her pregnancy, Ms. Ward’s hours

were reduced to less than forty (40) hours per week. When Ms. Ward asked Ms.

Commodore why her hours were less than full-time and less than that of her peers,

Ms. Commodore told Ms. Ward that it was due to her pregnancy.

                                       11.

      Between August 1, 2020 and mid-December 2020 when Ms. Ward went out

on maternity leave, there were several weeks where Ms. Ward was assigned less

shifts and/or her hours were reduced. When Ms. Ward inquired with Ms.


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Commodore as to the reason for the lack of assignments and/or reduced hours, Ms.

Commodore told Ms. Ward it was due to her pregnancy.

                                         12.

      In October 2020, Ms. Commodore told Ms. Ward that she had hired another

individual to replace Ms. Ward permanently due to her pregnancy. When Ms. Ward

responded that she had always performed her duties well and been complimented

for her work such that there was no need to replace her, Ms. Commodore began

asking invasive questions such as who would be taking care of Ms. Ward’s child

after delivery. Ms. Commodore also told Ms. Ward that she did not believe Ms.

Ward would return to work after childbirth.

                                         13.

      Ms. Ward continued to work part-time for Defendant through mid-December

2020 when she went out on maternity leave. After Plaintiff filed her EEOC charge

in this case, Supervisor Commodore has singled Plaintiff out for discipline on

pretextual grounds, has held Plaintiff to standards different from other similarly

situated employees, and has otherwise harassed Plaintiff in retaliation for Plaintiff’s

filing of her EEOC charge.

                                         14.

      At no time during her pregnancy was Ms. Ward in need of any

accommodation. Ms. Ward performed her job well and was told by co-workers and


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employees of the Rockdale Healthcare Center that she was doing a good job, and

was seen as a good employee by Defendant.

                                         15.

      Defendant’s reduction of Ms. Ward’s hours and failure to assign shifts due to

Ms. Ward’s pregnancy constitute direct evidence of discrimination under the

Pregnancy Discrimination Act.

                                         16.

      The effect of Defendant’s above-stated actions has caused Ms. Ward to suffer

out-of-pocket losses and mental and emotional distress for which she seeks redress.

Further, Defendant is aware of its obligations under federal law, and its reduction of

Ms. Ward’s hours and non-assignment of shifts to Ms. Ward because of her

pregnancy shows Defendant’s willful and/or reckless disregard of Ms. Ward’s

federally protected rights, such that Defendant is liable for punitive damages.

                         COUNT I:
  SEX DISCRIMINATION BY ALTERING THE TERMS, CONDITIONS,
    AND PRIVILEGES OF PLAINTIFF’S EMPLOYMENT BASED ON
            PREGNANCY IN VIOLATION OF TITLE VII
                                         17.

      Plaintiff incorporates herein by reference the allegations set forth in the

preceding paragraphs of this Complaint as if fully set forth herein.




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                                        18.

      Defendant unlawfully discriminated against Ms. Ward on the basis of her sex,

which includes pregnancy, by withholding shifts and reducing Ms. Ward’s hours due

to her pregnancy.

                                        19.

      At all relevant times to this action, Defendant acted intentionally, willfully,

and in bad faith towards Ms. Ward and with malice and reckless indifference to Ms.

Ward’s federally protected rights. Defendant’s intentional acts towards Ms. Ward

caused her to suffer financial loss, emotional pain and suffering, inconvenience,

mental anguish, and other losses.

                                        20.

      As a result of Defendant’s pregnancy discrimination described herein, Ms.

Ward has suffered actual and compensatory damages, including but not limited to

lost wages, back pay, attorney’s fees, and punitive damages.

                                        21.

      Defendant, acting in bad faith, with malice or reckless disregard for Ms.

Ward’s federally protected rights, have been unnecessarily and stubbornly litigious

and have caused Ms. Ward unnecessary trouble and expense for which Ms. Ward is

entitled to recover from Defendant punitive damages, reasonable attorney’s fees and

all expenses of litigation.


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                               PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays that this Court grant the following

relief:

1) Issue judgment in favor of Plaintiff, Maureen Ward and against Defendant,

   Healthcare Services Group, Inc.;

2) Issue judgment in favor of Plaintiff that Defendant discriminated against Ms.

   Ward on the basis of her pregnancy in violation of Title VII and the Pregnancy

   Discrimination Act;

3) That Plaintiff Ward have and recover from Defendant back pay and benefits, with

   prejudgment interest thereon;

4) That Plaintiff Ward have and recover compensatory damages in an amount to be

   determined by a jury;

5) That Plaintiff Ward have and recover punitive damages in an amount to be

   determined by a jury;

6) That Plaintiff have and recover her attorneys’ fees and costs of litigation pursuant

   to 42 U.S.C. § 1988 and all other applicable federal laws; and

7) Any and other such further relief that this Court or the Finder of Fact deems

   equitable and just.

          Plaintiff demands a trial by jury.




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     This 6th day of April, 2021.

                                    Respectfully submitted,
                                    HILL, KERTSCHER & WHARTON, LLP

                                    By: /s/ Douglas R. Kertscher
                                        Douglas R. Kertscher
                                        Georgia State Bar No. 416265


                                          Attorney for Plaintiff

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